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 1   ANTHONY P. CAPOZZI, CSBN: 068525
     NICHOLAS A. CAPOZZI, CSBN: 275568
 2   LAW OFFICES OF ANTHONY P. CAPOZZI
     1233 W. Shaw Avenue, Suite 102
 3   Fresno, California 93711
     Telephone: (559) 221-0200
 4   Facsimile: (559) 221-7997
     E-mail: anthony@capozzilawoffices.com
 5   www.capozzilawoffices.com
 6   Attorney for Defendant,
     Cirrilo Gutierrez-Garcia
 7

 8
                      IN THE UNITED STATES DISTRICT COURT
 9
                    EASTERN DISTRICT OF CALIFORNIA, FRESNO
10

11   UNITED STATES OF AMERICA,             ) Case No.: 1:11-cr-00305 AWI
                                           )
12               Plaintiff,                )
                                           ) STIPULATION AND ORDER TO
13         vs.                             ) CONTINUE STATUS CONFERENCE
                                           )
14   CIRRILO GUTIERREZ-GARCIA,             )
                                           )
15               Defendant.                )
                                           )
16

17         Defendant, Cirrilo Gutierrez-Garcia, by and through his

18   attorney of record, Anthony P. Capozzi, and the United States

19   Attorney by and through Karen A. Escobar stipulates that the

20   Status      Conference     in   the    above-entitled       case      set   for

21   March 5, 2012 at 10:00 a.m. be continued to March 12, 2012 at

22   10:00 a.m.

23   ///

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                                           - 1 -
                    Stipulation and Order to Continue Status Conference
                                CASE NO.: 1:11-CR-00305 AWI
                           Case 1:11-cr-00305-AWI Document 26 Filed 03/02/12 Page 2 of 2


 1                         Additional time is needed for plea discussions between

 2   the parties.                      Time has been excluded.

 3

 4   DATED: March 01, 2012                                    Respectfully submitted,

 5

 6                                                            /s/Anthony P. Capozzi
                                                              Anthony P. Capozzi
 7                                                            Attorney for Defendant
 8

 9                                                            /s/Karen A. Escobar___
                                                              Karen A. Escobar
10                                                            Attorney for United States
11

12                                                        ORDER
13

14
     IT IS SO ORDERED.
15

16   Dated: March 1, 2012
                                                   CHIEF UNITED STATES DISTRICT JUDGE
17
     DEAC_Signature-END:




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                                    Stipulation and Order to Continue Status Conference
                                                CASE NO.: 1:11-CR-00305 AWI
